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                       Exhibit A

                    Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 In re                                                       Chapter 11

                                                             Case No. 23-10831 (MFW)
 Lordstown Motors Corp., et al.,1
                                                             (Jointly Administered)
                                          Debtors.           Re: Docket No. 923


         ORDER EXTENDING THE DEADLINE PURSUANT TO SECTION 365(d)(4)
          OF THE BANKRUPTCY CODE TO ASSUME OR REJECT UNEXPIRED
                  LEASES OF NONRESIDENTIAL REAL PROPERTY

         Upon consideration of the motion (the “Motion”) of the debtors and debtors in possession in

the above-captioned chapter 11 cases (collectively, the “Debtors”)2 for the entry of an order (this

“Order”), extending the deadline for the Debtors to assume or reject unexpired leases of nonresidential

real property pursuant to 11 U.S.C. § 3654(d)(4); and upon consideration of the First Day Declaration

and the entire record of these Chapter 11 Cases; and it appearing that the Court has jurisdiction to

consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated as of February 29,

2012; and it appearing that the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and it

appearing that venue of these Chapter 11 Cases and of the Motion is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given under

the circumstances, and that no other or further notice need be given; and after any hearing on the

Motion, if necessary (the “Hearing”), and upon consideration of the First Day Declaration, the record

of any Hearing, if applicable, and all proceedings had before the Court and it appearing that the relief


         1
                   The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                   Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
Motion.
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requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties

in interest; and after due deliberation, and good and sufficient cause appearing therefor:

        IT IS HEREBY ORDERED, ADJUDGED and DECREED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The time within which the Debtors may assume or reject the Unexpired Leases is

extended to the earlier of (i) April 22, 2024 and (ii) the effective date of any chapter 11 plan of the

Debtors.

        3.      Nothing contained in this Order shall be construed as (a) an assumption or rejection of

any of the Unexpired Leases under section 365(a) of the Bankruptcy Code or (b) an admission by the

Debtors that a particular instrument is or is not a true lease. Any and all of the Debtors’ rights; claims,

and defenses with respect to the characterization of the Unexpired Leases pursuant to sections

365(d)(3) and 365(d)(4) of the Bankruptcy Code or otherwise are expressly reserved.

        4.      The entry of this Order shall be without prejudice to the rights of the Debtors to request

further extensions of the time to assume or reject Unexpired Leases as provided in section 365(d)(4)

of the Bankruptcy Code.

        5.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), this Order

shall be immediately effective and enforceable upon its entry.

        6.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




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